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Transfer Pricing Services




Grand Canyon University
Transfer Pricing Planning Report
For the Fiscal Year Ended December 31, 2018 and
For the Fiscal Year Ended December 31, 2019

April 29, 2020




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1. Executive Summary
1.1 Objective of the Report
Pursuant to the request of Grand Canyon University 1, an Arizona nonprofit corporation,
(“GCU” or the “University” or the “Client”), Deloitte Tax LLP (“Deloitte Tax,” “we,’’ or “our’’)
prepared a transfer pricing analysis in connection with the following transaction (the “Covered
Transaction”) 2 between GCU and Grand Canyon Education, Inc. (“GCE”) for the fiscal year
ended December 31, 2018 (“FY 2018”) and the fiscal year ended December 31, 2019 (“FY
2019”):

    1. Provision of Education Support Services 3 by GCE to GCU

Deloitte Tax performed two analyses using the financials for FY 2018 (the “FY 2018 Analysis”)
and for FY 2019 (the “FY 2019 Analysis”) to evaluate and corroborate the ongoing applicability
of the analysis performed in the report, Grand Canyon University – TP Report August-19-2019
issued on August 19, 2019 (the “Original Analysis”).

In the Original Analysis, the key economic assets and functions contributing to the revenues
of the enterprise are identified, the relative contribution of the economic assets are measured
and the revenue split is evaluated using the Economic Profit Split (“EPS”) 4 method that is
based on well accepted economic and valuation principles. The EPS framework requires the
classification of costs into variable and fixed. Throughout this report, when we make reference
to “fixed costs”, Deloitte Tax is applying the concept of fixed costs as interpreted in the
finance/economics context. That is, (economic) fixed costs are costs that do not co-vary with
the quantity of goods produced or services provided and hence do not co-vary with the
concurrent period revenue. 5 The Economic theory underlying the relationship between fixed
costs and risks borne by an enterprise is predicated on the well-recognized principle that
higher fixed costs imply higher risks since the presence of such costs exacerbates the volatility
of net cash flows (or profits) within the enterprise when there are external shocks faced by
the enterprise. Hence, there is a positive relationship between assumption of fixed costs and
business risks. We explain the measurement and impact of the existing fixed costs within
GCU’s and GCE’s businesses, and the EPS model later in this report.

The analysis contained in this report is solely for tax purposes in connection with analyzing
the Covered Transaction, and based on the U.S. transfer pricing regulations as described in


1
  Previously named Gazelle University
2
  For the purposes of our analysis, the Covered Transaction assumes that the new Master Services Agreement (“MSA”)
between GCU and GCE is applicable as of beginning of FY 2019. Under the MSA, certain functions as well as strategic
decision makers (refer to section 5 for further details) are anticipated to move from GCE to GCU. Going forward, “pre
execution of the MSA” refers to before FY 2019 and “post execution of the MSA” refers to beginning of FY 2019.
3
  Education Support Services comprise services related to the support of Grand Canyon’s online student body (“Online
Education Support Services”) and services related to the support of Grand Canyon’s on-ground campus student body
(“Ground Education Support Services”). A detailed description of the services can be found in Section 5: Functional
and Risk Analysis of this report.
4
  EPS is an arm’s length contribution analysis methodology that follows the guidance set forth in the OECD June 2018
Revised Guidance on the Application of the Transactional Profit Split Method, which includes revisions to Section C,
Part III Chapter II of the OECD Guidelines.
5
  For example, technology development costs are broadly considered to be fixed as research efforts take a while to
materialize in revenues and the level of such costs are not likely to impact current period revenue, whereas material
costs of production are likely to be correlated to the demand for the products and hence are more variable in nature.

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section 482 of the Internal Revenue Code (“IRC”) and the Treasury Department regulations
promulgated thereunder (the “U.S. Transfer Pricing Regulations”) and the 2017 Organization
for Economic Cooperation and Development (“OECD”) Transfer Pricing Guidelines for
Multinational Enterprises and Tax Administrations (the “OECD Guidelines”).

In addition, it is understood and agreed that our analysis may include advice and
recommendations, but all decisions in connection with the implementation of such advice and
recommendations shall be the responsibility of, and made by, the Company. This report does
not include an evaluation, opinion, or documentation in accordance with the standards of the
transfer pricing penalty regulations, Treas. Reg. §1.6662-6(d)(2) or the standards of other
tax administrations. Therefore, any tax advice included in this written communication was not
intended or written to be used, and it cannot be used by the taxpayer, for the purpose of
avoiding any transfer pricing penalties that may be imposed by any governmental taxing
authority or agency or to satisfy the documentation standards set forth in these regulations
or the standards of other tax administrations.

1.2 Scope of Analysis
The conclusion of our transfer pricing planning report is based on our understanding of
information provided about the business and the transaction covered by this report. Any
changes in the facts and data provided to us could significantly alter our conclusions. Our
conclusion is based upon:

   1.   Information and data provided by the Client, the completeness and accuracy of which
        we did not independently verify;

   2.   The assumption that all of Client’s representations used in our analysis and all of the
        originals, copies, and signatures of documents reviewed by us are accurate, true, and
        authentic;

   3.   The assumption that there will be timely execution and delivery of and performance
        as required by the representations and documents;

   4.   The assumption that Client has made a reasonably thorough search for the information
        that we have requested and that the University is not aware of any other information
        that would have a material impact on our analysis;

   5.   The understanding that our analysis of transactions between Client and third-parties
        has been limited to information that Client provided to Deloitte Tax;

   6.   The law, regulations, cases, and other tax authority in effect as of the date of the
        report. If there are any significant changes of the foregoing tax authorities (for which
        we shall have no responsibility to advise the Client), such changes may result in our
        conclusion being rendered invalid or necessitate (upon request) a reconsideration of
        the conclusion;

   7.   The understanding that our conclusions are applicable only to the taxable year and
        the transactions specifically covered by our report and that we have assumed all
        related party transactions involving the University and its subsidiaries are priced at
        arm’s length;

   8.   The understanding that this report is solely for Client’s benefit and may not be relied
        upon by any other person or entity other than the IRS;



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      9.    The understanding that only the specific U.S. federal income tax issues and tax
            consequences discussed herein are covered by our conclusions, and no other foreign
            or U.S. national, state, or local taxes or duties of any kind are covered by our report;

      10. The understanding that this report is limited to the specific tax purpose identified in
          the report and may not be used for any other purpose, including use as the primary
          source for Client’s accounting records;

      11. The understanding that our conclusions are not binding on the IRS or the courts and
          should not be considered a representation, warranty, or guarantee that the local tax
          jurisdictions or the courts will concur with our conclusions; and

      12. The understanding that our review of documents under this report do not constitute
          the provision of any audit, compilation, review, or attest services as described in the
          pronouncements on professional standards issued by the American Institute of
          Certified Public Accountants or the U.S. Public Company Accounting Oversight Board.

1.3 Work Performed
As part of our analyses, we performed the following steps:

      1. Discussed with Client and confirmed the information gathered and facts presented in
           the Original Analysis are valid for the purposes of our analysis. Key objective was to:

                a. Confirm the functions performed, risks borne and assets employed by GCU and
                   GCE in connection to the Covered Transaction;

                b. Gather information about the technology platform developed by GCE, including
                   ownership and use by GCE, and whether third parties are engaged by GCE to
                   provide such services and confirmation that GCE does not provide similar
                   services to third parties.

      2. Requested, reviewed and analyzed financial information for GCU and GCE for FY 2018
           and FY 2019;

      3. Performed two separate analyses (i.e. the FY 2018 Analysis and the FY 2019 Analysis)
           to evaluate a range of remuneration for the Covered Transaction, which entailed the
           following:

                a. We translated accounting-based income statements and balance sheets for all
                   years relevant to the analysis 6 by:

                         i. Identifying fixed costs (i.e., costs that do not co-vary with current period
                            revenue) after careful examination of the nature of said costs and
                            discussion with the Client.

                         ii. These fixed costs can be operating in nature (i.e., only affect current
                             period revenues) or affect revenue in future periods. The latter gives
                             rise to Off Balance Sheet Assets (“OBSAs”) that are amortized in future
                             periods. For the fixed costs that generate OBSAs, based on the
                             management confirmation, we rely on the estimates performed in the



6
    The EPS model requires historical costs data that drive revenue, and profit, in the current period under analysis.

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                   Original Analysis for the lead time and useful lives of these costs to
                   quantify the value of OBSAs and their amortization schedule.

               iii. Imputing notional financing costs, which capture the opportunity cost of
                    carrying each on- and off-balance sheet asset by applying a market-
                    based rate to such respective assets. Since these notional financing
                    costs are tied to the value of the underlying assets, they are also fixed
                    in nature.

        b. Computed consolidated contribution margin (equal to the consolidated revenue
           minus consolidated variable costs);

        c. Rely on the Original Analysis for the estimated share of total consolidated fixed
           costs borne by GCU and GCE;

        d. Split consolidated contribution margin based on relative share of fixed costs of
           GCU and GCE; and

        e. Documented a reasonable range of remuneration by GCU to GCE for the
           Education Support Services as a percent of consolidated net revenue 7;

4. Prepared this transfer pricing report to document: (i) the nature of the Covered
     Transaction; (ii) the functional analysis; (iii) the method and procedures applied in our
     analysis; and (iv) our results and conclusion.




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2. University Background
2.1 Business Overview
2.1.1 Background 8
GCU, originally named Grand Canyon College, was founded in Prescott, Arizona in 1949 as a
traditional, private, non-profit college and moved to its existing campus in Phoenix, Arizona
in 1951. GCU was originally established as a Baptist-affiliated institution with a strong
emphasis on religious studies, offering bachelor’s degree programs in education. GCU has
since then expanded its curricula to include programs in the sciences, nursing, business,
music, and arts.

GCU obtained regional accreditation in 1968 from the Commission on Institutions of Higher
Education, North Central Association of Colleges and Schools, the predecessor to the Higher
Learning Commission, and began offering nursing programs and master’s degree programs
in education and business in the 1980s. In 1989, it achieved university status and became
Grand Canyon University. GCU introduced its first distance learning programs in 1997 and
launched its first online programs in 2003 in business and education. In February 2004, a
group of investors acquired the assets of the school and converted the school into a for-profit
institution.

GCE is a publicly-traded Delaware corporation that provides education services to colleges
and universities. Prior to July 1, 2018, GCE owned and operated GCU. 9 On July 1, 2018, GCE
sold GCU to an independent non-profit entity; GCU remains the most significant university
partner of GCE. GCU is a comprehensive regionally accredited university, offering graduate
and undergraduate degree programs and certificates across nine colleges both online and in
person within its campus located in Phoenix, Arizona, at leased facilities and within facilities
owned by third party employers of its students. As of December 31, 2019, GCE provided
education services and support to over 103,100 students enrolled in GCU’s programs.

2.1.2 Grand Canyon University10,             11


GCU is one of the largest universities in North America, recognizing net revenues and
operating income in FY 2018 of $845.5 million and $258.1 million, compared to FY 2017, in
which net revenues were $974.1 million and operating income was $282.8 million. The
decreases in net revenues and operating income of 13.2 percent and 8.7 percent,
respectively, can be attributed to GCE’s sale of GCU to a private company.

GCU utilizes an integrated approach to marketing, recruiting, and retaining both traditional
aged students attending on its campus in Phoenix, Arizona, as well as working adult students
attending on its campus or at off-site locations in cohorts (referred to as professional studies
students) or online, which have enabled the university to increase its enrollment to support
over 103,100 students as of December 31, 2019.




8
  Source: Grand Canyon Education, Inc. FY 2019 Form 10-K filing with the Securities Exchange Commission.
9
  Grand Canyon University – Substantive Change Application submitted to the Higher Learning Commission.
10
   Source: Grand Canyon Education, Inc. FY 2017 Form 10-K filing with the Securities Exchange Commission.
11
   Source: Grand Canyon Education, Inc. FY 2018 Form 10-K filing with the Securities Exchange Commission.



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2.1.3 Tuition 12
Based on tuition rates for the 2019-2020 academic year, one year of tuition for an on-campus
Bachelor’s degree is estimated to be $16,500, for an online Bachelor’s degree is $11,040, for
an online Master’s degree is $8,752, and for an online Doctoral degree is $8,040. In addition,
GCU also offers online and evening classes on a cost per credit basis. For the undergraduate
level, tuition ranges from $250 t0 $470 per credit, and from $350 to $690 for the graduate
level, depending on the type of program. These tuition amounts consider neither additional
costs such as non-tuition fees, room, board, and education materials, nor reductions from
transfer credits or scholarships. Taking scholarships into accounts, the average student at
GCU paid $8,700 in annual tuition.

2.1.4 Acquisition of Orbis Education 13, 14
On January 22, 2019, GCE acquired Orbis Education Services LLC (“Orbis Education”) to
expand its selection of education services and client base. Orbis Education partners with a
growing number of universities and healthcare networks across the U.S. to develop high-
quality, career-ready graduates and healthcare programs to meet the demands of the
healthcare industry. As of December 31, 2019, Orbis Education served 22 universities, at 24
locations, across 20 states around the U.S.

The Orbis Education business serves only third party colleges and universities for a specific
field of study. As such, it does not affect GCE’s capabilities to provide services to GCU and in
turn, does not contribute to the generation of OBSAs beneficial to GCU’s business.
Accordingly, the revenues and costs associated with Orbis Education are not considered for
the purposes of this analysis.




12
     Source: GCU Website. https://www.gcu.edu/tuition-and-financial-aid
13
     Source: Grand Canyon Education, Inc. FY 2019 Form 10-K filing with the Securities Exchange Commission.
14
     Source: Orbis Education Website. https://orbiseducation.com/

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3. Industry Analysis
3.1 Nonprofit Universities Industry 15
3.1.1 Overview
The nonprofit universities industry includes public and private universities and colleges that
offer academic courses and grant baccalaureate or graduate degrees. The requirement for
admission is a high school diploma or equivalent general academic training. Instruction is
typically provided on physical campuses, although online education is increasingly becoming
more prevalent.

Over the past five years, improving job prospects have lowered industry demand, as high
school graduates have opted to forgo higher education and immediately enter the workforce.
The high level of student loan debt in the U.S. – which currently stands at $1.53 trillion
according to Nitro College – has incited students with financial constraints to avoid taking
student loans and pursue jobs instead. As such, student enrollment is expected to decrease
at an annualized rate of 0.5% over the five years to 2019. However, the reduced demand for
college and university education has been offset by growth in government funding and private
donations. As a result, IBISWorld projects in the five years ended 2019, industry revenue will
grow marginally at an annualized rate of 0.1% to $512.1 billion.

In the five years to 2024, demand for higher education is expected to rebound, as the job
market contracts and job seekers choose to pursue higher education to increase their
competitiveness in the labor market. While industry operators will face increased competition
from open online courses providers offering low-cost education opportunities, increased
government funding and donations as well as greater implementation of online education
programs by universities and colleges – which will lower costs of operation – are expected to
benefit industry operators. As a result of these trends, industry revenue is forecast to increase
at an average annual rate of 1.3% to $545.5 billion over the next five years.

3.1.2 Products and Services
Accredited undergraduate and postgraduate degrees are the major products higher education
institutions offer. Degrees are offered in a variety disciplines, including business, sciences and
the humanities. Industry institutions generate revenue by providing education for
undergraduate and postgraduate degrees.
3.1.2.1 Bachelor’s Degree
Undergraduate courses are taught at the bachelor’s degree level and typically require four
years of full-time study. To qualify for admittance, most schools require students to hold a
high school diploma or pass the General Educational Development (“GED”) test. Many schools
also require a student to take one or several admittance exams, such as the SAT or ACT. A
stagnating number of high school graduates has caused undergraduate enrollment to remain
sluggish over the past five years. As a result, this segment’s share of total university degrees
has remained relatively constant in recent years. In 2019, bachelor’s degrees are expected
to account for 67.0% of total industry revenue.




15
     Source: IBISWorld Industry Report 61131A: Colleges & Universities in the US, November 2019.

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   •   Ability to take advantage of government subsidies and other grants,

   •   Ability to respond to students’ needs,

   •   Having a good reputation,

   •   Ability to raise revenue from additional sources, and

   •   Effective cost controls.

GCU’s major competitors include Arizona State University and Liberty University.
3.1.3.1 Cost Structure
Unlike for-profit universities, profits, measured as earnings before interest and taxes, is not
directly applicable to nonprofit universities. Players within this industry reinvest their surplus
revenue into educational services. Additionally, nonprofit institutions can operate at a loss for
an extended period due to historical endowments.

Profit is approximately 9.7% of revenue. Wages account for approximately 38.2% of revenue.
The remaining 52% is attributed to the following categories in descending order: scholarships
& advertising & public service, depreciation, rent & utilities, purchases (catering,
accommodation, and educational materials), and marketing.
3.1.3.2 Competition Factors
Within the nonprofit university industry, players compete for revenue such as tuition and
government funding. Industry players also compete to hire and retain talented facility
members. Universities compete on the basis of reputation, academic quality, access to
facilities, lower student-to-staff ratios, student services, and tuition prices. The industry also
faces external competition from other academic institutions, such as community colleges,
technical and trade schools, and for-profit universities.




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the assumption of increased risk would also be compensated by an increase in the expected
return, although the actual return may or may not increase depending on the degree to which
the risks are actually realised. The level and assumption of risk, therefore, are economically
relevant characteristics that can be significant in determining the outcome of a transfer pricing
analysis.” 19

Furthermore, Paragraph 1.60 of the OECD Guidelines indicates that there are six steps
necessary to analyse risks and accurately delineate the actual transaction. These six steps
are as follows:

1. Identify economically-significant risks with specificity;
2. Determine how specific, economically significant risks are contractually assumed by the
   affiliates under the terms of the transaction;
3. Determine through a functional analysis how the affiliates that are parties to the
   transaction operate in relation to assumption and management of the specific,
   economically significant risks, and in particular which affiliate or affiliates perform control
   functions and risk mitigation functions, which affiliate or affiliates encounter upside or
   downside consequences of risk outcomes, and which affiliate or affiliates have the financial
   capacity to assume the risk;
4. Determine whether the contractual assumption of risk is consistent with the conduct of
   the associated enterprises and other facts of the case by analyzing: (i) whether the
   associated affiliates follow the contractual terms; and (ii) whether the party assuming risk
   exercises control over the risk and has the financial capacity to assume the risk;
5. Where the party assuming risk under steps 1-4(i) does not control the risk or does not
   have the financial capacity to assume the risk, some of the risk (and returns) should be
   reallocated following the guidance from the OECD Guidelines; and
6. The actual transaction as accurately delineated by considering the evidence of all the
   economically relevant characteristics of the transaction should then be priced taking into
   account the financial and other consequences of risk assumption, as appropriately
   allocated, and appropriately compensating risk management functions.
4.1.2 Risk Analysis and Control over Risks
The six-step process outlined above, along with the rest of Section D.1.2.1 of the OECD
Guidelines indicates that the analysis of economically significant risks is central for the
application of the arm’s length principle to any transfer pricing analysis.

Paragraphs 1.58 and 1.71 of the OECD Guidelines captures the importance of accurately
analysing the risks incurred by different entities in a global company by noting that:

           “The assumption of risks associated with a commercial opportunity affects the profit
           potential of that opportunity in the open market, and the allocation of risks assumed
           between the parties to the arrangement affects how profits or losses resulting from
           the transaction are allocated at arm’s length through the pricing of the transaction.
           Therefore, in making comparisons between controlled and uncontrolled transactions
           and between controlled and uncontrolled parties it is necessary to analyse what risks
           have been assumed, what functions are performed that relate to or affect the


19
     OECD Guidelines, Para. 1.56.



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           assumption or impact of these risks and which party or parties to the transaction
           assume these risks.” 20

And,

           “In all of a company’s operations, every step taken to exploit opportunities, every time
           a company spends money or generates income, uncertainty exists, and risk is
           assumed…Risk is associated with opportunities, and does not have downside
           connotations alone; it is inherent in commercial activity, and companies choose which
           risks they wish to assume in order to have the opportunity to generate profits. No
           profit-seeking business takes on risk associated with commercial opportunities without
           expecting a positive return. Downside impact of risk occurs when the anticipated
           favourable outcomes fail to materialize.” 21

In a transfer pricing context, risk is considered as the effect of uncertainty on the objectives
of the business, and the significance of a risk for the business depends on the likelihood and
size of the potential profits or losses arising from the risk. 22 Additionally, the OECD Guidelines
indicate that a relevant framework to characterize risks for transfer pricing purposes is to
consider the sources of uncertainty which give rise to risk. 23

To precisely follow the OECD Guidelines, risks, and their impact to the business, must be
described with specificity since “risks which are vaguely described or undifferentiated will not
serve the purposes of a transfer pricing analysis seeking to delineate the actual transaction
and the actual allocation of risk between the parties.” 24

In addition to the identification and analysis of the economically significant risks, Step 4 in
the six-step process involves analysing whether the entities that contractually bear the
economically significant risks exercise control over such risks. Paragraph 1.65 of the OECD
Guidelines defines “control over risks” as follows:

           “Control over risk involves (i) the capability to make decisions to take on, lay off, or
           decline a risk-bearing opportunity, together with the actual performance of that
           decision-making function and (ii) the capability to make decisions on whether and how
           to respond to the risks associated with the opportunity, together with the actual
           performance of that decision-making function. It is not necessary for a party to
           perform the day-to-day mitigation in order to have control of the risks. Such day-to-
           day mitigation may be outsourced…However, where these day-to-day mitigation
           activities are outsourced, control of the risk would require capability to determine the
           objectives of the outsourced activities, to decide to hire the provider of the risk
           mitigation functions, to assess whether the objectives are being adequately met, and,
           where necessary, to decide to adapt or terminate the contract with that provider,
           together with the performance of such assessment and decision-making. In



20
     OECD Guidelines, Para. 1.58.
21
     OECD Guidelines, Para. 1.71
22
     OECD Guidelines, Para. 1.71.
23
   The source of this uncertainty may be externally driven (e.g., economic environment, natural disasters) or
internally driven (e.g., process design, employee deployment).
24
   OECD Guidelines, Para. 1.72 indicates that “risks which are vaguely described or undifferentiated will not serve
the purposes of a transfer pricing analysis seeking to delineate the actual transaction and the actual allocation of risk
between the parties.”



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             accordance with this definition of control, a party requires both capability and
             functional performance as described above in order to exercise control over a risk.” 25

In summary, the six-step process outlined in the OECD Guidelines involves performing a
detailed functional analysis that focuses primarily on how the associated affiliates that are
parties to the transaction operate in relation to the assumption and management of the
specific, economically significant risks, and in particular which members of the company
perform control functions and risk mitigation functions, which affiliate or affiliates encounter
upside or downside consequences of risk outcomes, and which affiliate or affiliates have the
financial capacity to assume the risk. 26

4.1.3 Vertical Integration
The OECD Guidelines state that in performing a detailed functional analysis, it is important to
understand how value is generated by the company as a whole, the interdependencies of the
functions performed by each affiliate with the rest of the group, and the contribution that
each affiliate makes to that value creation. 27 While certain parts of a business may be
considered routine (i.e., can be benchmarked based on a functional analysis), benchmarking
vertically integrated businesses can be challenging and thus make a complete analysis of
value creation difficult to perform.

To understand why, we must delve into the economics of vertical integrated supply chains,
best summarized by Paul Joskow–

             “The conditions under which businesses decide to engage in market-based transactions
             on a non-exclusive “spot” basis are very different from the conditions under which
             businesses decide to engage in market based transactions on an exclusive “long-term
             contractual” basis which in turn are very different from the conditions under which
             businesses decide to internalize market transactions within the same organization
             through vertical integration.” 28

This is a consequence of potential mismatch in the incentives of parties over time that is often
referred to as the “hold-up problem”. Joskow further writes – “The key considerations behind
such differing structures rest on the importance of asset specificity 29, uncertainty, product
complexity and the constraints on repeat transactions.” 30

An integrated supply chain characterized by a high degree of asset specificity, uncertainty



25
     OECD Guidelines, Para. 1.65.
26
     OECD Guidelines, Para. 1.82
27
     OECD Guidelines, Para. 1.82
28
     Joskow, Paul. Vertical integration, Handbook of New Institutional Economics, Kluwer, 2003.
29
   Examples of asset specificity include: (1) Site specificity – where the buyer and seller are in a long-term
relationship, reflecting ex ante decisions to minimize inventory and transportation costs. Once sited, the assets in
place are highly immobile; (2) Physical asset specificity – when one or both parties to the transaction make
investments in equipment and machinery that involves design characteristics specific to the transaction and which
have lower values in alternative uses; (3) Human asset specificity – investments in relationship-specific human
capital that often arise through a learning-by-doing process; and (4) Dedicated assets – general investments by
supplier that would not otherwise be made but for the prospect of selling a significant amount of product to a
particular customer. If the contract were terminated prematurely it would leave the supplier with significant excess
capacity.
30
     Ibid.



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and/or product complexity will be hard to benchmark and, therefore many parts of such a
supply chain will be considered non-routine. A contribution analysis following the 2018 PS
Guidance may then be a method for analysing such supply chains or parts thereof. It should
be noted that at arm’s length, each party to a transaction optimize their own value. However,
companies by definition optimize value of the group as a whole.

4.1.4 Operating Leverage and Value Creation
For a meaningful discussion of value creation, we must at the outset have a common (a)
definition of value 31 and (b) understanding of what contributes to such value.

Price must, on average, cover costs of inputs purchased from third parties, wages and salaries
of employees, and provide an adequate return to capital adjusted for risks. Value is created
by labour and capital. Capital carries residual risk and return to capital (profit) is the key
focus of transfer pricing. Therefore, to define the appropriate measure of value, we must
understand how risks are created.

Risks of a business come from two main sources 32:

•    Nature of product or service offered: Other things being equal, the more discretionary the
     demand for the product or service, the higher the risk. For an integrated supply chain,
     this risk is common for all sub-units of the supply chain; and
•    Operating leverage (fixed costs as a percentage of total costs): Other things being equal,
     the higher the proportion of fixed costs in total costs, the higher is the risk in the business.
     Unlike the first source of risk, this risk is not common for all sub-units of an integrated
     supply chain because fixed costs vary between the stages of a supply chain.
Operating leverage not only captures fixed operating costs but also fixed costs of asset (both
on and off-balance sheet) usage (i.e., depreciation and amortization). However, it does not
capture the opportunity cost of financing the assets.

Consistent with the effect of operating leverage on risk, for the EPS the consolidated
contribution margin for the operations (defined as revenue minus variable costs) is chose as
the measure of value for an integrated supply chain. Contribution margin must, on average,
cover fixed operating costs and provide an adequate return to debt and equity capital. The
EPS is a contribution analysis that splits the consolidated contribution margin of a company
using relative assumption of implicit and notional fixed costs, which is a measure of the
operating leverage (modified to incorporate opportunity cost of financing assets) of the sub-
units of an integrated supply chain. The detailed computation steps are described in section
6.2.

In transactions between unrelated parties, the parties agree ex-ante on their expected
respective cost structures, investments and assets, and often agree on revenue sharing
arrangements reflecting their relative risks. This is to counteract the asymmetric information
problem that exists in any long-term arrangement between unrelated parties. In related
party transactions, this asymmetric information problem is alleviated through centralized
management and control. Thus, ex-post contribution margin (or revenue) can be split among


31
   One can think of three potential definitions: (1) Price of goods or services sold to third parties; (2) Value added or
price of goods or services sold to third parties less price of related inputs purchased from third parties; or (3) Some
measure of profit, (e.g., gross profit, operating profit, contribution margin, etc.).
32
   See Aswath Damodaran, 1999.". Estimating Risk Parameters,". New York University, Leonard N. Stern School
Finance Department Working Paper Series 99-019, New York University, Leonard N. Stern School of Business, 1999.

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the sub-units of an integrated supply chain based on the relative assumption of risk
(measured by the fixed costs, following the notion of operating leverage) of the sub-units.

4.1.5 Control of Fixed Costs within an Integrated Supply Chain
While almost all fixed costs can be tied to a location, they can be shifted contractually.
However, contractual risk shifting arrangements without the right substance may be ignored
by tax authorities. More specifically, risks must be accompanied by the performance of risk
control and management defined as (i) capability and performance of the decision to take
risk; (ii) capability and performance of responding to changes in risk; and (ii) capability and
performance of risk mitigation. 33 Risk control and management focuses on responses to
potential and actual events; not necessarily the control of whether an event occurs because
many events are not within the control of the MNE. Day-to-day risk mitigation may not be an
important function if the controlling party (i) determines the objectives or the outsourced
activity; (ii) has the ability to hire/fire; (iii) can and does access whether the objectives are
being met; and (d) can terminate the contract. 34

4.1.6 Role of Funding and the Associated Risk Control and Management Functions
According to Paragraph 6.61 of the OECD Guidelines, funding is generally considered a
financial risk and is generally separated from operational risk which relates to the use of the
funds. Funding and the associated risk control and management functions are only entitled to
a risk-adjusted return. 35 Moreover, to clarify the role of control, Paragraph 1.103 stipulates
that funding without the associated risk control and management functions is only entitled to
a risk-free return.

Paragraph 6.62 of the OECD Guidelines discusses that “[s]uch return can be determined, for
example, based on the cost of capital or the return of a realistic alternative investment with
comparable economic characteristics. In determining an appropriate return for the funding
activities, it is important to consider the financing options realistically available to the party
receiving the funds.
4.1.7 EPS Framework
EPS is an appropriate method to analyse the Covered Transactions while taking into
consideration the historical contributions by GCU and GCE.

The application of the EPS is consistent with the OECD June 2018 Revised Guidance on the
Application of the Transactional Profit Split Method, which includes revisions to Section C, Part
III Chapter II of the OECD Guidelines and the general guidance on the applicability of profit
splits set forth in Treas. Reg. § 1.482-6. 36




33
     OECD Guidelines, Paras. 1.61 and 1.65.
34
     OECD Guidelines, Para. 1.65.
35
  Para. 6.62 of the OECD Guidelines discusses that “[s]uch return can be determined, for example, based on the
cost of capital or the return of a realistic alternative investment with comparable economic characteristics. In
determining an appropriate return for the funding activities, it is important to consider the financing options
realistically available to the party receiving the funds.”
36
   Note that Treas. Reg. 1.482-6 has two specified profit split methods: (1) comparable profit split (§1.482-6(c)(3));
and (2) residual profit split (§1.482-6(c)(3)). EPS will be considered an unspecified method (§1.482-9(h)) even
though it follows the general guidance on profit splits from §1.482-6. Under the Covered Transaction facts, the EPS
is more reliable than the two specified profit split methods.

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OECD Guidelines guidance state that a transactional profit split may be appropriate for the
following considerations (see Sections 2.119-2.122 in the OECD Guidelines):

      •   Each party makes unique and valuable contributions;
      •   The business operations are highly integrated such that the contributions of the parties
          cannot be reliably evaluated in isolation from each other; and
      •   The parties share the assumption of economically significant risks, or separately
          assume closely related risks.
In addition, Treas. Reg. §1.482 describes the profit split as “The profit split method evaluates
whether the allocation of the combined operating profit or loss attributable to one or more
controlled transactions is arm's length by reference to the relative value of each controlled
taxpayer's contribution to that combined operating profit or loss.” 37 And “[under the profits
split] [t]he relative value of each controlled taxpayer's contribution to the success of the
relevant business activity must be determined in a manner that reflects the functions
performed, risks assumed, and resources employed by each participant in the relevant
business activity, consistent with the comparability provisions of § 1.482-1(d)(3). Such an
allocation is intended to correspond to the division of profit or loss that would result from an
arrangement between uncontrolled taxpayers, each performing functions similar to those of
the various controlled taxpayers engaged in the relevant business activity. The profit allocated
to any particular member of a controlled group is not necessarily limited to the total operating
profit of the group from the relevant business activity. For example, in a given year, one
member of the group may earn a profit while another member incurs a loss.” 38

4.1.8 Economic Profits Splits - Application
The EPS, the methodology that analyzes the contribution of GCU and GCE, is based on well-
established economic and finance principles and follows the OECD guidance on splitting profits
following a contribution analysis approach described in Paragraph 2.150 of the OECD
Guidelines:

           “Under a contribution analysis, the relevant profits, which are the total profits from
          the controlled transactions under examination, are divided between the associated
          enterprises in order to arrive at a reasonable approximation of the division that
          independent enterprises would have achieved from engaging in comparable
          transactions. This division can be supported by comparables data where available. In
          the absence thereof, it should be based on the relative value of the contributions
          by each of the associated enterprises participating in the controlled transactions,
          determined using information internal to the MNE group, as a proxy for the division
          that independent enterprises would have achieved (see section C.5.2). In cases where
          the relative value of the contributions can be measured, it may not be necessary to
          estimate the actual market value of each party’s contributions.”

The EPS used to examine the Covered Transaction aligns economic risks incurred, and the
return earned by GCU and GCE respectively, resulting in an arm’s length allocation. EPS
considers where and how value is created in the business operations, including:

      1. Consideration of the economically significant functions, assets, and risks;



37
     See §1.482-6(a)
38
     See §1.482-6(b)

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    2. Which party performs the functions, contributes the assets, and assumes the risks;
    3. How the functions, assets, and risks are inter-related;
    4. How the economic circumstances may create opportunities to capture profits in excess
       of what the market would allow (e.g., unique intangibles or first mover advantages);
       and
    5. How risks are controlled (within the control of risks framework from the OEC TPG).
The economic principle underlying the EPS is the tradeoff in markets between risk and return
– which is measured by the relative assumption of fixed costs and operating leverage.

The EPS requires a number of steps to arrive at an eventual allocation of profits to each entity
in the MNE based on their relative contribution, measured by the assumption of fixed costs.
Relative contribution of fixed costs is a split factor that aligns risks and return according to
economic principles.

To apply an EPS, first, it is necessary to identify all economic assets expected to generate
economic value contributed, or expected to be contributed by each party in the controlled
transactions, including on-balance sheet operating assets and off-balance sheet assets
(“OBSAs”) such as self-developed intangible assets. For each on-balance sheet and off-
balance sheet asset identified in the analysis the assumption of fixed costs 39 determines a
measure of the systematic risk premium (referred to as “market-correlated risk” in the U.S.
Regulations) over a risk-free asset an investor would require at arm’s length – this includes
the notional cost of carrying those assets.

Using fixed costs assumed by each participant (the measure of relative assumption of
systematic risk controlled by each participant) the EPS splits the contribution margin in the
controlled transactions between the participants proportionally to their relative assumption of
systematic risk.

In order to have a methodology that is consistent with the principles articulated in Chapter I
of the OECD Guidelines, the six step process described at paragraph 1.60 of Chapter I of the
OECD Guidelines (accurate delineation of the transaction), including the performance of the
“control” test for each economically significant risk identified, is also part of the EPS analysis.

Because the EPS analysis that contains the transactional layer of the six step process
described at paragraph 1.60 of Chapter I of OECD Guidelines, and because the ultimate
allocation of profits between GCU and GCE is consistent with the arm’s length principle, it
results in a transfer pricing method, within the meaning of Chapter II of the OECD Guidelines.

The section below provides a detailed description of the functions to be performed and risks
to be borne by GCE and GCU in connection with the provision of Education Support Services
by GCE to GCU.




39
   The identification of fixed costs is done by examining the nature of the economic costs (variable versus fixed)
necessary to be funded by each participant for each asset pursuant to the binding commitments involved in the
controlled transactions.

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5. Functional and Risk Analysis
In the Original Analysis, Deloitte Tax conducted a number of interviews with GCU and GCE
personnel from all core functional groups. The focus of the interviews was to fundamentally
understand the risk factors to identify the fixed or variable nature of costs incurred throughout
the supply chain. 40

Based on fact finding discussions with key management personnel, the University’s key value
creating drivers consist of the following functions:




We confirmed with the management that the above departments continue to be the key value
drivers in FY 18 and FY 19 as well. Each of the above functions are described in detail below.

5.1 Functions
5.1.1 Marketing
5.1.1.1 Overview of the Marketing Department
GCU manages marketing functions for its on-campus print shop for promotions; alumni
relations; communications and public relations; on-campus health center; on-campus Lope
shops, the GRID and other university operated enterprises. These activities are relatively
small as compared to the marketing activities performed by GCE, which functions based on
the inputs from various departments at GCU.

The marketing department at GCE develops and executes marketing strategy with inputs from
various GCU groups (e.g., colleges, enrollment functions, etc.), provides support to
enrollment counselors at GCU by providing marketing materials, communicates programs
offered at GCU to potential students, develops a mechanism for people to inquire about the
programs and connect prospective students to the enrollment counselors. The functions are




40
   The information for the functional and risk analysis was sourced from the Original Analysis. It is proposed that
curriculum services, faculty operations, and strategic educational alliance teams at GCE transition over to become
employees of GCU. As a result of this change, three departments and 10 executives that were previously at GCE for
purposes of the Original Analysis, and most closely tied to the core academic functions of the University, would
transition to GCU. Although, this transition has been accounted for in Section 6, Economic Analysis, in this report,
Client management confirmed there were no material changes to the functional and risk profiles of the three
departments for the purposes of the FY 2018 Analysis and FY 2019 Analysis.

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highly integrated into other functions at GCE. The key marketing initiatives include




5.1.1.2 Key Decisions of the Marketing Department
Key marketing decisions at GCU are primarily made by the following personnel:



The key decisions of the marketing department at GCE are primarily made by the following
personnel:




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5.2 Risks
As discussed above, the relationship between fixed costs and risks borne by an enterprise is
predicated on the well-recognized principle that higher fixed costs imply higher risks. Hence,
there is a positive relationship between the assumption of fixed costs and the level of business
risks. GCE and GCU are subject to several risks factors that affect the business including all
those identified in Paragraph 1.72 of the OECD Guidelines. In order to identify the risks that
GCE and GCU are exposed to in a way that is consistent with the functions and functional


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groups within the corporate group, in this section we discuss the risks associated with each
of the functions described in the previous sections.




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5.3 Assets
Currently, GCE has developed and owns all marketing, technology, and process intangibles
associated with its operations (excluding any trademarks and trade names and university
logos) used by GCE in their operations. In addition, GCE owns real property (e.g., parcel and
building) and personal property (e.g., office supplies, office equipment, furniture,
instruments, and computers, among others). Since restructuring, GCE owns the technology
platform necessary to provide services to GCU, which owns all remaining assets, including,
the name of the university (i.e., Grand Canyon University), any associated trademarks, course
materials, as well as the school assets related to real and personal property.




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6.1.1.2 Applicability
The Education Support Services provided by the GCE to GCU contribute significantly to the
key competitive advantages of the Company. Under Treas. Reg. Section 1.482-9(b)(4)(vi)
(research, development or experimentation type of service transactions) and Treas. Reg.
Section 1.482-9(b)(4)(vii) (engineering or scientific type of service transactions) are ineligible
for the SCM method and therefore, the SCM cannot be used as the best method/most reliable
method.

6.1.2 CUSP/ CUP
6.1.2.1 General Description
The CUSP/CUP method compares the price charged for property or services transferred in a
controlled transaction to the price charged for property or services transferred in a comparable
uncontrolled transaction in comparable circumstances. Where it is possible to locate
comparable uncontrolled transactions, the CUSP/CUP method is the most direct and reliable
way to apply the arm’s length principle.

In considering whether controlled and uncontrolled transactions are comparable, product
comparability must be closely examined. A minor difference in the property transferred in the
controlled and uncontrolled transactions could materially affect the price even though the
nature of the business activities undertaken. In addition, other comparability factors include,
but are not limited to, functions performed, risks assumed, and contractual terms. Where
differences exist between the controlled and uncontrolled transactions or between enterprises
undertaking those transactions that may have a material effect on price, every effort should
be made to adjust the data so that it may be used reliably in a CUSP/CUP method.

6 1 2 2 Applicability
No internal CUSP/CUP transactions were identified for the provision of Education Support
Services by GCE (i) at the same market level; (ii) in comparable geographic locations; and
(iii) in comparable volumes. In addition, GCU does not receive similar services from unrelated
service providers. Therefore, internal CUSP/CUP method is not selected as the best
method/most appropriate method since comparable data for application of internal CUSP/CUP
is not available.

In addition, due to the specificity of the transaction and the industry, no external CUSP/CUP
method analyzing the transactions between two unrelated parties, is available. As such, we
reasonably concluded that the external CUSP/CUP method is not the best method/most
appropriate method to determine the arm’s length nature of the Covered Transaction.

6.1.3 GSMM/RPM
6.1.3.1 General Description
The GSMM/RPM relies upon an analysis of the gross profit margins earned in comparable
uncontrolled transactions to test the arm’s length nature of charges in a controlled
transaction. The GSMM/RPM measures the value of functions performed and is frequently
employed where tangible property has been purchased and resold without having been added
substantial value by the reseller. The practical application of this method entails multiplying
the applicable resale price by the gross profit margin earned in comparable uncontrolled
transactions, and then subtracting the resulting gross profit from the applicable resale price
for the property involved to yield an arm’s length transfer price. The gross profit margin of
the reseller in the controlled transaction may be determined by reference to the gross profit
margin that the same reseller earns on items purchased and sold in comparable uncontrolled


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transactions, or, alternatively, by reference to the gross profit margin earned by an
independent enterprise engaged in comparable uncontrolled transactions.

Comparability under the GSMM/RPM is particularly dependent upon functions performed,
economic circumstances, and the ways in which the related enterprises and independent
enterprises carry out their business (e.g., the differences could include the effect of
management efficiency on levels and ranges of inventory maintenance). In making
comparisons for purposes of the GSMM/RPM, fewer adjustments are normally needed to
account for product differences than under the CUSP/CUP method, because minor product
differences are less likely to have as material an effect on profit margins as they do on price.

6.1.3.2 Applicability
Neither GCU or GCE provide comparable services with third parties, and we are unaware of
instances where two third parties jointly provide comparable services in a comparable market.
Therefore, we reasonably concluded that the GSMM/RPM method is not the best method/most
reliable method to determine the arm’s length nature of the Covered Transaction.

6.1.4 CSPM/Cost Plus Method
6.1.4.1 General Description
The CSPM/Cost Plus Method is typically used in circumstances where semi-finished goods are
sold between related parties, where related parties have concluded joint facility agreements
or long-term buy-and-supply arrangements, or where the controlled transaction is the
provision of services. The CSPM/Cost Plus Method evaluates the arm’s length nature of an
intercompany charge by reference to the gross profit mark up on costs incurred by suppliers
of property (or services) for property transferred (or services provided). Under the CSPM/Cost
Plus Method, an arm’s length price equals the controlled party’s cost of producing the tangible
property (or providing the services) plus a reliable gross profit mark-up, defined as the ratio
of gross margin to costs for a comparable uncontrolled transaction. The cost plus mark up of
the supplier of goods or services in the controlled transaction should ideally be established by
reference to the cost plus mark up that the same supplier earns in comparable uncontrolled
transactions. The cost plus mark up earned by an independent enterprise in comparable
transactions may also serve as a guide.

When applying the CSPM/Cost Plus Method, it is particularly important to consider differences
in the level and types of expenses, both operating expenses and non-operating expenses
including financing expenditures, associated with functions performed and risks assumed by
the parties or transactions being compared. As under the RPM, close physical similarity
between products transferred in controlled and uncontrolled transactions is less important.
Where there are differences that materially affect the cost-plus mark ups earned in the
controlled and uncontrolled transactions, adjustments should be made to account for such
differences. In addition, reliable adjustments should be made to the data used to ensure that
the same types of costs are used in each case to ensure consistency.

6.1.4.2 Applicability
No internal CSP/Cost Plus transactions were identified for Covered Transaction. As stated
above, GCE does not provide similar services to any other third-party entities. An external
CSP/Cost Plus approach is also not available due to lack of sufficient information on similar
service transactions involving third parties in the given industry.

In addition, as mentioned in above, the reliability and accuracy of the CSPM/Cost Plus Method
is also vulnerable to differences in accounting methods and classifications among the


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comparable companies. While the accounting practices of GCE are known, the same level of
understanding of the accounting practices of the comparable companies is not available.
Experience has shown that companies do differ in their accounting treatment of different kinds
of costs, with some companies treating some costs as part of “Cost of Services” and other
companies treating the same kinds of costs as “Selling, General, and Administrative Expense.”
Occasionally these differences can be material. Therefore, we reasonably concluded that the
CSPM/Cost Plus Method is not considered the best method/most appropriate method to
determine the arm’s length nature of the Covered Transaction.

6.1.5 CPM/TNMM
6.1.5.1 General Description
The CPM/TNMM examines the net profit margin (e.g., return on assets, operating income to
sales, and possibly other measures of net profit) relative to a reliable base (e.g., assets, sales,
costs) that a taxpayer realizes from a controlled transaction. Thus, the CPM/TNMM operates
in a manner like the cost plus and resale price methods, and to be reliable it must be applied
in a manner consistent with the application of the cost plus or resale price methods.
Specifically, the profit level indicator (“PLI”) of the taxpayer from the controlled transaction
should ideally be established by reference to the PLI that the same taxpayer earns in
comparable uncontrolled transactions. Where this is not possible, the PLI that would have
been earned in comparable transactions by an independent enterprise may serve as a guide.

Analysis under the CPM/TNMM should consider only the profits of the related enterprise that
are attributable to controlled transactions. That is, it would be unreliable to apply the
CPM/TNMM on a company-wide basis if the Company engages in a variety of different
controlled transactions that cannot be reliably compared on an aggregate basis with those of
the independent enterprise. The related enterprise to which the CPM/TNMM is applied should
be the enterprise for which reliable data on the most closely comparable transactions can be
identified. This enterprise will generally be the enterprise that is the least complex of the
enterprises involved in the controlled transaction and that does not own valuable intangible
property or unique assets. Multiple year data should be considered in the CPM/TNMM for both
controlled and uncontrolled enterprises to the extent that their PLI is being compared, to take
into account the effects on profits of product life cycles and short term economic conditions.
A range of results should also be taken into account to reduce the effects of differences
between the controlled and uncontrolled entities.

A functional analysis of the related enterprise, and in the latter case, the independent
enterprise is necessary to determine whether the transactions are comparable and what
adjustments may be required to obtain reliable results. The comparability standard to be
applied to the CPM/TNMM requires a high degree of similarity in a number of aspects of the
related enterprise and the independent enterprise engaged in the transactions for the
controlled transactions to be comparable. These factors include, but are not limited to, threat
of new entrants in the industry, competitive position, management efficiency and individual
strategies, threat of substitute products, varying cost structures, differences in the cost of
capital, and the degree of business experience. In addition, differences in the measurement
across enterprises of operating and non-operating expenses affecting the PLI, such as
depreciation and reserves, must be considered.

6.1.5.2 Applicability
In the case of the intercompany services, the CPM/TNMM would benchmark an appropriate
return for service provider based on its functions performed and the profits earned by
companies comparable to the tested party (i.e., GCE).


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The nature of the activities performed by GCU and GCE are highly integrated. Each entity
contributes to the development of intangibles. Due to the degree of integration in the business
and factual delineation of the transactions, benchmarking certain transactions under the
CPM/TNMM would reduce the reliability of the analysis and potentially undermine certain value
creation. Based on the above, we reasonably concluded that the CPM/TNMM is not the best
method/most appropriate method to determine the arm’s length nature of the Covered
Transaction.

6.1.6 Profit Split Methods
6.1.6.1 General Description
The profit split method evaluates the arm’s length nature of the combined operating profit (or
loss) resulting from one or more intercompany transactions, based on the relative value of
each controlled party’s contribution to the operating profit (or loss). The combined profit may
be the total profit from the transactions or a residual profit intended to represent the profit
that cannot readily be assigned to one of the parties, such as the profit arising from high-
value, sometimes unique, intangibles. The contribution of each enterprise is based on a
functional analysis of each enterprise, considering the assets used and risks assumed. In
addition, relative contributions must be valued to the extent possible by available reliable
external market criteria, including profit split percentages or returns observed among
independent enterprises with comparable functions.

The U.S. Transfer Pricing Regulations and OECD Guidelines discuss two approaches, not
necessarily exhaustive or mutually exclusive, for estimating the division of profits under the
profit split method: contribution analysis and residual analysis.

6.1.6.2 Contribution Analysis
Under a contribution analysis which employs the comparable profit split method, the combined
profits, which are the total profits from the controlled transactions, are divided between the
related enterprises based upon the relative value of the functions performed by each
enterprise, supplemented as much as possible by external market data that indicate how
independent enterprises would have divided profits in similar circumstances. Determining the
relative value of each party’s contributions might be made by comparing the nature and
degree of each party’s contributions of different types, including, but not limited to, provision
of services, development expenses incurred, and capital invested, and assigning a percentage
based upon the relative comparison and external market data. Generally, operating profit is
examined under this method, ensuring that both income and expenses are attributed to the
relevant related enterprise on a consistent basis.

6.1.6.3 Applicability of Contribution Analysis Per U.S. Transfer Pricing Regulations
An application of the comparable profit split method under the U.S. Transfer Pricing
Regulations requires identifying the combined operating profit of uncontrolled companies, the
transactions and activities of which are comparable to GCU and GCE in the context of the
Covered Transaction. We did not identify publicly available information on uncontrolled
companies, the transactions and activities of which are sufficiently comparable to the Covered
Transaction. Further, it is highly unlikely that an arrangement sufficiently comparable to the
Covered Transaction can be found.

For the above reasons, we reasonably concluded that the comparable profit split method is
not considered the best method/most appropriate method to determine the arm’s length
nature of the Covered Transaction.



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6.1.6.4 Applicability of Contribution Analysis Per OECD Guidelines
As summarized in section 4 and section 5, the nature of GCU and GCE business is vertically
integrated, which can be analyzed under contribution analysis per OECD Guidelines.

For purposes of applying the transactional profit split under the OECD Guidelines, we are able
to (i) factually establish the unique and valuable contributions that GCU and GCE contribute
in the context of the Covered Transaction, (ii) perform the six-step process described at
paragraph 1.60 of Chapter I of the OECD Guidelines (accurate delineation of the transaction),
including performance of the “control” test for each identifiable economically significant risk ,
(iii) reliably determine the contribution split of the participating entities, and (iv) obtain actual,
auditable internal Company data. Hence, we reasonably selected the contribution analysis
under the OECD Guidelines for testing the Covered Transaction. Specifically, we applied the
Economic Profit Split (“EPS”) Method as the most appropriate method to measure the arm’s
length nature of the Covered Transaction. 53

Section 6.2 provides further details regarding the application of the EPS.

6.1.6.5 Residual Analysis
The Residual Analysis employs the RPSM/RPS which divides the combined profit from the
controlled transactions in two stages. First, each participant in the transaction is allocated
sufficient profit to provide it with a basic return reliable for the type of transactions in which
it is engaged. This return is determined by reference to the market returns achieved for similar
types of transactions by independent enterprises. In the second stage, any residual profit (or
loss) is allocated among the parties based upon an analysis of the circumstances that might
indicate how this residual would have been divided between independent enterprises.
Indicators of the parties’ contributions of intangible property and relative bargaining positions
may be particularly useful in this context.

RPSM/RPS may not be used where only one controlled participant makes significant non-
routine contributions (including platform or operating contributions) to the relevant business
activity.

6.1.6.6 Applicability of Residual Analysis
Application of the RPSM/RPS involves two steps. First, operating income is allocated to each
party in the controlled transactions to provide a market return for its routine contributions to
the relevant business activity. Second, any residual profit is divided among the controlled
taxpayers based on the relative value of their contributions of any nonroutine contributions
to the relevant business activity. Operations in Grand Canyon’s business are highly integrated
and both GCU and GCE both perform non-routine functions, which makes difficult to identify
sufficiently comparable independent companies or transactions to reliably allocate market
returns related to the performance of routine functions to estimate the residual profit.
Therefore, we reasonably concluded that the RPSM/RPS is not the best method/most
appropriate transfer pricing method to determine the arm’s length nature of the Covered
Transaction.




53
   Defined in the Glossary of the OECD Guidelines as “[a]n analysis used in the profit split method under which the
relevant profits from controlled transactions are divided between the associated enterprises based upon the relative
value of the contributions made by each of the associated enterprises participating in those transactions,
supplemented where possible by external market data that indicate how independent enterprises would have divided
profits in similar circumstances.”

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6.1.7 Consideration of Unspecified Method under U.S. Transfer Pricing Regulations
In order to recommend a reasonable allocation of profits between GCU and GCE, we relied
upon the EPS method. Although EPS follows the principles of the Profit Split Method, albeit
not a comparable profit split method or residual profit split method as defined in Treas. Reg.
§ 1.482-6, it is an unspecified method under Treas. Reg. §1.482.

GCU and GCE share the risks in the integrated business and, therefore, should share the
profits in a manner proportional to each entity’s relative value contribution. We reasonably
concluded that EPS is the best method/most appropriate transfer pricing method to determine
the arm’s length nature of the Covered Transaction

6.1.8 Consideration of Realistic Alternative 54 and Conclusion on Selection of Method
GCE’s provision of services (i.e. Education Support Services) is closely linked to GCU’s overall
business operations and is a key competitive value driver that is necessary for the functioning
of the University. Therefore, GCE’s and GCU’s profits or losses are analyzed together under
EPS Method.

In addition, a realistic alternative for GCU would be to perform the Education Support Services
in-house. Based on our analysis, we reasonably conclude that the risk-adjusted payment from
GCU to GCE for the provision of services is comparable to the risk-adjusted costs incurred if
those services were performed by GCU in-house.

Per U.S. Transfer Pricing Regulations, we have not identified any other internal or external
intercompany transactions that are economically interrelated as the Covered Transaction that
needs to be considered in determining the specified method that is most reliable measure of
an arm’s length result. We have reasonably concluded that the selection and application of
the best method, under U.S. Transfer Pricing Regulations, to analyze the Covered Transaction
provides a reasonable measure of value of the Covered Transaction, including consideration
of the alternatives realistically available to the parties.

For the reasons discussed above, we selected the EPS method to recommend an appropriate
range with respect to the allocation of overall profits between GCU and GCE.

6.2 Application of the EPS
Deloitte Tax performed the FY 2018 Analysis and FY 2019 Analysis to evaluate the ongoing
applicability and reasonableness of the Original Analysis. Please refer to Appendix B for the
Original Analysis.

The EPS requires a number of steps to arrive at an eventual allocation of profits to each entity
in the corporate group based on their relative contribution, measured by the assumption of
fixed cost. Relative contribution of fixed costs is a split factor that aligns risks and return
according to economic principles.

To apply an EPS, first, it is necessary to identify all economic assets expected to generate
economic value contributed, or expected to be contributed by each party in the controlled
transactions, including on-balance sheet operating assets and OBSAs such as self-developed
intangible assets. For each on-balance sheet and off-balance sheet asset identified in the


54
   Per Treas. Reg. § 1.482-1(f)(2)(ii) and Treas. Reg. § 1.482-1(d)(3)(iv)(H), consideration of “Realistic Alternatives”
is not a method but a valuation consideration and comparability factor in determining the best method.



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of the interviews was to fundamentally understand the risk factors to identify the fixed or
variable nature of costs incurred throughout the University’s supply chain.

The combination of qualitative information accumulated from the interviews and quantitative
data from the financials inform the inputs used in the EPS model.

6.2.1.1 Identification of Fixed Costs
The EPS framework starts with the identification and classification of costs into variable and
fixed categories. For purposes of the EPS analysis, the concept of fixed costs is applied as
interpreted in the economics/finance context. That is, (economic) fixed costs are costs that
do not co-vary with the quantity of goods produced or services provided and hence, do not
co-vary with the concurrent period revenue. 60 The economic theory underlying the
relationship between fixed costs and risks borne by an enterprise is predicated on the well-
recognized principle that higher fixed costs imply higher risks since the presence of such costs
exacerbates the volatility of net cash flows (or profits) within the enterprise when there are
external shocks faced by the enterprise. Hence, there is a positive relationship between
assumption of fixed costs and business risks.

The costs 61 incurred in FY 2018 and FY 2019 are categorized into either fixed or variable
costs categories based on the Original Analysis. 62 Next, the costs categorized as fixed were
reviewed and further classified as either costs relating to (i) the construction of an OBSA; or
(ii) operating fixed costs, which are costs that do not co-vary with revenue but impact only
the current accounting period.

OBSAs are constructed as part of the EPS framework to affect the alignment of costs and
revenues in each period. Costs that contribute to the generation of OBSAs, by definition, do
not necessarily provide a benefit in the period of occurrence. Instead, these costs are expected
to provide benefit (i.e., revenue) in the future over multiple periods. In order to align the
OBSA generating costs with the period of benefit, the costs are capitalized and amortized
based on an assumption regarding its useful life. To align the costs with expected benefit, the
amortization of the OBSA is accounted for in each period as a fixed cost and represents the
portion of costs that contribute to the OBSA relevant to the period.

We classify the OBSAs into three aggregate groups: (1) Marketing; (2) Technology
Development; and (3) Executive Strategy. Each of these asset classes are generated from
expenditures classified in certain expense categories. Marketing OBSAs represent an
aggregation of all the assets generated by Marketing expenses; Technology Development
OBSAs represent an aggregation of all the OBSAs generated by Curriculum Development,
Admissions Advisory, Technology, IT, Faculty Services, and Other expenses; and Executive
Strategy OBSAs represent an aggregation of all the assets generated by Executive Leadership



60
   For example, R&D costs are broadly considered to be fixed, as research efforts take a while to materialize in
revenues and the level of such costs are not likely to impact current period revenue, whereas material costs of
production are likely to be correlated to the demand for the products and hence are more variable in nature.
61
   Costs related to repairs, maintenance, and further development of the physical campus/facilities are included in
the cost base for the purposes of our analyses and the parameters regarding the share of fixed costs by function
group take into account the nature of these costs. Based on our review of trial balances and discussion with the Client
management, a portion of these campus development costs contribute to the generation of future revenues for the
university and therefore, deemed as OBSA in our analyses.
62
   In the Original Analysis, a careful examination of the nature of each cost and interviews with GCU and GCE
personnel familiar with the functions, risks and assets related to the different cost buckets



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           Appendix A:
    Master Services Agreement
                (Available Upon Request)




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              Appendix B:
          FY 2017 EPS Analysis
   Grand Canyon University – TP Report
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                    Appendix C:
                FY 2018 EPS Analysis




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FY 2018 EPS Model

Year under analysis                                2018

STEP 1: Financial Information as Provided by Client

               Description                    Consolidated         GCU                  GCE
           Income Statement




                                                             1
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FY 2018 EPS Model

Year under analysis                                 2018


Balance Sheet
Receivables
Payables
Net Receivables

Property and equipment, net
Intangible Assets + Goodwill, Net
Other Non-Current Assets
Cash and Cash Equivalents
Prepaid Expenses
Other Current Assets
Net Operating Assets

Identified Non-Operating Assets
Identified Liabilities (NIBL excl payables)                   -                  -          -
Operating Assets Adjustment
                                                              -                  -          -
Adjusted Net Operating Assets

Net Receivables
Property and equipment, net
Other Operating Assets




                                                                  2
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Year under analysis                               2018



STEP 2: Identification of Costs Generating Off-Balance Sheet Assets, Operating Fixed Costs, and Variable Costs

Share of costs that generate OBSA
               Description                    Consolidated              GCU                  GCE




                                                               3
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FY 2018 EPS Model

Year under analysis                             2018




               Description                  Consolidated               GCU             GCE          Type of OBSA




                                                                                                                   -




                                                             4
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Year under analysis                              2018



Costs Generating OBSA by OBSA Category
                                             Consolidated          GCU                  GCE




Share of Costs that Do Not Generate OBSA but are Fixed
               Description                   Consolidated          GCU                  GCE




                                                            5
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Year under analysis                                2018



Costs that Do Not Generate OBSA but are Fixed
               Description                      Consolidated               GCU         GCE          Type of Fixed Cost




                                                                 6
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FY 2018 EPS Model

Year under analysis                               2018

                              Costs that Do Not Generate OBSA but are Fixed
                                               Consolidated            GCU              GCE




                                         Variable Costs on P&L
                Description                   Consolidated
Cost of Sales                                              -                  -               -




                                                                 7
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Year under analysis                               2018


STEP 3: Calculation of Contribution Margin (Revenue - Variable Costs)

               Description                    Consolidated              GCU             GCE




STEP 4: Calculation of OBSA Stock and Depreciation

Non-OBSA Fixed Costs                          Consolidated              GCU             GCE
Technology




OBSA Depreciation/Amortization                Consolidated              GCU             GCE




                                                               8
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Year under analysis                                2018

Total OBSA Stock in Service                    Consolidated        GCU                  GCE




STEP 5: Financing Fixed Costs

          Financing Fixed Costs                Consolidated        GCU                  GCE




STEP 6: Reallocation of Costs Based on Control of Risks

             Control of Risk                   Consolidated        GCU                  GCE




                                                              9
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FY 2018 EPS Model

Year under analysis                             2018



   Reallocation of Fixed Cost Based on
                                             Consolidated          GCU                  GCE
               Control Test
Operating fixed Costs from Accounting P&L (No OBSA)




                                                            10
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Year under analysis                             2018

STEP 7: Total Economic Fixed Costs

                                            Consolidated           GCU                  GCE




STEP 8: Reconstruct Accounting P&L

                                            Consolidated           GCU                  GCE




                                                           11
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2020 Economic Profit Split Analysis
FY 2018 EPS Model

Year under analysis                             2018

STEP 9: Revenue Split

                                            Consolidated           GCU                  GCE




                                                           12
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                    Appendix D:
                FY 2019 EPS Analysis




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FY 2019 EPS Model

Year under analysis                               2019

STEP 1: Financial Information as Provided by Client

Description
                                              Consolidated            GCU                  GCE
Income Statement




                                                              1
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Balance Sheet




                                                           2
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FY 2019 EPS Model

Year under analysis                               2019



STEP 2: Identification of Costs Generating Off-Balance Sheet Assets, Operating Fixed Costs, and Variable Costs

Share of costs that generate OBSA
Description                                   Consolidated              GCU                  GCE




                                                               3
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Year under analysis                             2019



Costs Generating OBSA in Accounting P&L
Description                                 Consolidated               GCU             GCE          Type of OBSA




                                                             4
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Costs Generating OBSA by OBSA Category
                                             Consolidated          GCU                  GCE




Share of Costs that Do Not Generate OBSA but are Fixed
Description                                  Consolidated          GCU                  GCE




                                                            5
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Year under analysis                                2019



Costs that Do Not Generate OBSA but are Fixed
Description                                     Consolidated               GCU         GCE          Type of Fixed Cost




                                                                 6
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Year under analysis                                2019

Costs that Do Not Generate OBSA but are Fixed
                                                Consolidated          GCU                  GCE




Variable Costs on P&L
Description                                     Consolidated




                                                               7
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Year under analysis                               2019


STEP 3: Calculation of Contribution Margin (Revenue - Variable Costs)

Description                                   Consolidated              GCU             GCE




STEP 4: Calculation of OBSA Stock and Depreciation

Non-OBSA Fixed Costs                          Consolidated              GCU             GCE




OBSA Depreciation/Amortization                Consolidated              GCU             GCE




                                                               8
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Total OBSA Stock in Service                    Consolidated        GCU                  GCE




STEP 5: Financing Fixed Costs

Financing Fixed Costs                          Consolidated        GCU                  GCE




STEP 6: Reallocation of Costs Based on Control of Risks

Control of Risk                                Consolidated        GCU                  GCE
Operating fixed Costs from




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FY 2019 EPS Model

Year under analysis                             2019



Reallocation of Fixed Cost Based on
                                             Consolidated          GCU                 GCE
Control Test
Operating fixed Costs from Accounting P&L (No OBSA)




                                                            10
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STEP 7: Total Economic Fixed Costs

                                            Consolidated           GCU                  GCE




STEP 8: Reconstruct Accounting P&L

                                            Consolidated           GCU                  GCE




                                                           11
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STEP 9: Revenue Split

                                              Consolidated            GCU                  GCE




                                                              12
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